FILED DATE: 5/4/2027 11:41 AM 2021LO004558

Case: 1:21-cv-03283 Document #: 1-1 Filed: 06/18/21 Page 1 of 10 PageID #:5

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5/4/2021 11:41 AM
IRIS ¥. MARTINEZ

CIRCUIT CLERK
COOK GOUNTY, [IL
2021L004558

2120 - Served 2171 ~ Served 2620 - Sec. of State

2220 - Not Served 2221 - Not Served 2621 - Alias Sec of State

2320 - Served By Mail 2321 - Served By Mail

2420 - Served By Publication 2421- Served By Publication

Summons - Alias Summons (12/01/20) CCG 0001 A

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Name all Parties

KATELYN GARLICK

mE oe ACESS EoRY GCE, NE.

" Plaintiff(s) ion OK

* pan ie Sf ay

WAYNE HEALBY, JR., and VETERAN'S ea — =r
LINE, INC. yo dy’ ae 6A

- Defendant(s) K eee
6)?

 

 

 

 

Carl D. Holborn, Reg. Agent for Veteran's Line oy Forsana Sereee | spasta sarete
111 E. Wisconsin Ave., Milwaukee, WI 53202
Address of Defendant(s)
Please serve as follows (check one): ‘> Certified Mail = Sheriff Service ‘? Alias
SUMMONS
To each Defendant:

You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
You are summoned and required to file your appearance, in the office of the clerk of this court,
within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
judgment by default may be entered against you for the relief asked in the complaint.

THERE WILL BE A FEE TO FILE YOUR APPEARANCE.

To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
COURTHOUSE. You will need: a computer with internet access; an email address; a completed
Appearance form that can be found at http://wwwillinoiscourts.gov/Forms/approved/procedures/
appearance.asp; and a credit card to pay any required fees.

Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org EXHIBIT

Page 1 of 3

 
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Summons - Alias Summons (12/01/20) CCG 0001 B

 

 

E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-fling
service provider. Visit http:/ /efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
provider.

If you need additional help or have trouble e-filing, visit http:/ /wwwaillinoiscourts.gov/faq/gethelp.asp or talk with
your local citcut clerk’s office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
petson ot by mail. Ask your circuit clerk for more information or visit wwwillincislegalaid.org.

If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
yourself in a court case (including filing an appeatance or fee waiver), or to apply for free legal help, go to www.
illinoislegalaid.org, You can also ask your local circuit clerk’s office for a fee waiver application.

Please call or email the appropriate clerk’s office location (on Page 3 of this summons) to get your court hearing
date AND for information whether your hearing will be held by video conference or by telephone. The Clerk’s
office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.

NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
appearance by. You may file your appearance form by efiling unless you are exempted.

A court date will be set in the future and you will be notified by email (either to the email address that you used to
register for efiling, or that you provided to the clerk’s office).

CONTACT THE CLERKE’S OFFICE for information regarding COURT DATES by visiting our website:
cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
approptiate clerk’s office location listed on Page 3.

To the officer: (Sheriff Service}

This summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
endorsed. This summons may not be served later than thirty (30) days after its date.

 

 

 

 

 

@ Atty. No: 60473 __ Witness date
& Pro Se 99500
§/4/2021 11:44 AM IRIS ¥. MARTINEZ

Name: Paul L. Salzetta _ ;
Atty. for (if applicable): TRIS Y. MARTINEZ, Clerk of CoS
Plaintiff : a C Service by Certified Mail: _ :
Address: 411 W. ashington Street, Suite 1200 ___— CE Date of Service: _ __

Chi (To be inserted by officer on copy left with employer or other peraon)
City: ago
State, _L Zip: 60602

Telephone: ©12) 236-6324

Email: office@wsorlaw.com

 

Primary

Itis Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org
Page 2 of 3
FILED DATE: 5/4/2021 11:41 AM 2021L004558

Case: 1:21-cv-03283 Document #: 1-1 Filed: 06/18/21 Page 3 of 10 PagelID #:7

GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

E L._ MESSAGE to the telephone number or court date email address below for the
appropriate division, district or department to request your next court date. Email your case number, or, if you do
not have your case number, ernail the Plaintiff or Defendant's name for civil case types, or the Defendant’s name

and birthdate for a criminal case.

ANCERY D
Court date EMAIL: ChanCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5133

CIVIL
Court date EMAIL: CivCourtDate@cookcountrycourt.com
Gen. Info: (312) 603-5116

TY DIVISION
Court date EMAIL: CntyCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5710

DOMESTIC RELATIONS/CHILD SUPPORT
DIVISION

Court date EMAIL: DRCourtDate@cookcountycourt.com
OR
ChildSupCourtDate@cookcountycourt.com

Gen. Info: (312) 603-6300

NCE
Court date EMAIL: DVCourtDate@cookcountycourt.com
Gen. Info: (312) 325-9500

W DIVISI
Court date EMAIL: LawCourtDate@cookcountycoust.com
Gen. Info: (312) 603-5426

PROBATE DIVISION
Court date EMAIL: ProbCourtDate@cookcountycourt.com
Gen. Info: (312) 603-6441

ALL SUBURBAN CASE TYPES

DISTRICT 2 - SEOKIE
Court date EMAFL: D2CourtDate@cookcountyconrt.com
Gen. Info: (847) 470-7250

DISTRICT 3 - ROLLING MEADOWS
Court date EMAIL: D3CourtDate@cookcountycourt.com
Gen. Info: (847) 818-3000

DISTRICT 4 - MAYWOOD
Court date EMAIL: D4CourtDate@cookcountycourt.com
Gen. Info: (708) 865-6040

DISTRICT 5 - BRIDGEVIEW
Court date EMAIL: D5CourtDate@cookcountycourt.com

Gen. Info: (708) 974-6500

DISTRICT 6 - MARKHAM
Court date EMAIL: D6CourtDate@cookcountycourt.com
Gen. Info: (708) 232-4551

Tris ¥. Martinez, Clerk of the Circuit Court of Cook County, Illinois

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Page 3 of 3
FILED DATE: 5/4/2021 11:41 AM 20211004558

Case: 1:21-cv-03283 Document #: 1-1 Filed: 06/18/21 Page 4 of 10 PagelID #:8

12-Person Jury

FILED
5/4/2021 11:41 AM

IN THE CIRCUIT COURT COOK COUNTY, ILLINOIS RIS Y. MARTINEZ

CIRCUIT CLERK
COUNTY DEPARTMENT, LAW DIVISION COOK COUNTY, IL
2021L004558
KATELYN GARLICK, )
)
Plaintiff, )
)
Vv. ) No.
)
WAYNE HEALEY, JR., individually, )
and as agent of VETERAN’S TRUCK. )
LINE, INC., a Wisconsin Corporation, )
and VETERAN’S TRUCK LINE, INC., )
) JURY DEMAND
Defendants. )
)
COMPLAINT AT LAW

NOW COMES Plaintiff, KATELYN GARLICK, by and through her attorneys, WINTERS
SALZETTA O’BRIEN & RICHARDSON, L.L.C., and in complaining of the Defendants,
WAYNE HEALEY, JR. and VETERAN’S TRUCK LINE, INC., states as follows:

1. On May 21, 2019, and at all times relevant, VETERAN’S TRUCK LINE, INC.,
was a Wisconsin corporation with its principal address listed as 800 Blackhawk Drive, Burlington,
Wisconsin 53105 (hereinafter, “VETERAN’S”).

2. On May 21, 2019, and at all times relevant, VETERAN’S was licensed to, and was
doing, business in the State of Hlinois.

3. On May 21, 2019, and at all times relevant, Defendant, VETERAN’S, was a motor
carrier as defined under the Federal Motor Carrier Safety Act, 49 C.F.R.390.5.

4. On May 21, 2019, and at all times relevant, Defendant, VETERAN’S, was engaged
in the trucking business affecting intrastate commerce that owns and/or leases commercial motor
vehicles in connection with its business to operate commercial motor vehicles, including, but not

limited to, tractor trailers.
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5, On May 21, 2019, and at all times relevant, WAYNE HEALEY, JR., (hereinafter,
“HEALEY”), was an agent and/or employee of VETERAN’S as a licensed truck driver.

6. On May 21, 2019, and at all times relevant, HEALEY, held a valid Wisconsin-
issued Commercial Driver’s License.

7. On May 21, 2019 and at all times relevant, Dundee Road was a public highway
running in an east/west direction in the City of Palatine, Cook County, State of Illinois.

8. On May 21, 2019 and at all times relevant, the intersection of Dundee Road and
Smith Street in the City of Palatine, Cook County, State of Illinois, was controlled by a traffic
light.

9. On May 21, 2019 and at all times relevant, Plaintiff, KATELYN GARLICK, was
operating a 2013 Chevrolet Equinox eastbound on Dundee Road when she was stopped in traffic.

10, On May 21, 2019 and at all times relevant, Defendant, VETERAN’S, owned,
managed, and controlled a 2012 Great Dane Tractor Trailer (hereinafter “Tractor Trailer”) with
VIN number 1GRAA0622CW703651.

11. On May 21, 2019, and at all times relevant, Defendant, HEALEY, was operating
said Tractor Trailer eastbound on Dundee Road when he struck the rear of PLAINTIFF’s vehicle
and caused a motor vehicle collision.

12. On May 21, 2019, and at all times relevant, Defendant, HEALEY, was acting
within the course and scope of his agency and/or employment relationship with Defendant,
VETERAN’S.

13. On May 21,2019 and at all times relevant, Defendant, HEALEY, individually and

as an agent/employee of VETERAN’S, was trained and certified and instructed in the operation of
FILED DATE: 5/4/2021 11:41 AM 2021L004558

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said Tractor Trailer to conform with all Veteran’s Truck Line, Inc. standards that were in effect on
May 21, 2019,

14. On May 21, 2019 and at all times relevant, Defendant, HEALEY, individually and
as an agent/employee of VETERAN'S, was trained and certified and instructed in the operation of
said Tractor Trailer to conform with all Commercial Driver’s License standards and requirements
which were in effect on May 21, 2019.

15. On May 21, 2019 and at all times relevant, the Defendant, HEALEY, as
agent/employee of VETERAN’S knew or should have known of the VETERAN’S policies and
procedures that were in effect on May 21, 2019.

16. On May 21, 2019 and at all times relevant, the Defendant, HEALEY, as
agent/employee of VETERAN’S knew or should have known of the Commercial Driver’s License
standards and requirements which were in effect on May 21, 2019.

17. On May 21, 2019 and at all times relevant, the Defendant, VETERAN’S, by and
through its agent/employee, Defendant, HEALEY, had a duty to exercise reasonable care and
caution in the operation of the Tractor Trailer to avoid injury to PLAINTIFF.

18. On May 21, 2019 and at all times relevant, the Defendant, HEALEY, as agent
and/or employee of Defendant, VETERAN’S, had a duty to exercise reasonable care and caution
in the operation of the Tractor Trailer to avoid injury to PLAINTIFF.

19. On May 21, 2019 and at all times relevant, Defendant, VETERAN’S, by and
through its agent/employee, Defendant, HEALEY, operated said tractor trailer in a manner that
caused the Tractor Trailer to collide with the rear of PLAINTIFF’S vehicle at or near the
intersection of Dundes Road and King Edward Court in the City of Palatine, County of Cook, State

of Illinois.
FILED DATE: 5/4/2021 14:41 AM 2027L004558

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20. On May 21, 2019 and at all times relevant, Defendant, HEALEY, as agent and/or
employee of Defendant, VETERAN’S, operated said Tractor Trailer in a manner that caused the
tractor trailer to collide with PLAINTIFF’S vehicle at or near the intersection of Dundee Road and
King Edward Court in the City of Palatine, County of Cook, State of Illinois.

21. On May 21, 2019 and at all times relevant, Defendant, VETERAN’S, individually,
and by and through its agent/employee, Defendant, HEALEY, individually, was negligent in one
or more of the following respects:

a. Carelessly owned, operated, managed, and
maintained said tractor trailer in such a manner
as to endanger the safety of Plaintiff:

b. Carelessly owned, operated, managed, and
maintained said tractor trailer by proceeding at a
speed which was greater than reasonable and
proper in violation of 625 ILCS 5/11-601;

c. Carelessly owned, operated, managed, and
maintained said tractor trailer by failing to
decrease speed to avoid colliding with another
vehicle;

d. Carelessly and negligently failed to properly
train and supervise its agents/employees in the
safe operation of the aforesaid tractor trailer;

e. Carelessly owned, operated, managed, and
maintained said tractor trailer by failing to keep
a proper lookout, including, but not limited to
failing to see that Plaintiff was stopped;

f. Carelessly and negligently rear-ended Plaintiff's
vehicle;

g. Carelessly and negligently failed to take evasive
action to avoid a collision;

h. Carelessly and negligently followed another

vehicle more closely than was reasonable and
prudent in violation of 625 ILCS 5/12-601;

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FILED DATE: 5/4/2021 11:41 AM 2021L004558

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”

i. Carelessly and negligently failed to equip said
tractor trailer with adequate brakes in violation of
625 ILCS 5/12-301;

j. Cazrelessly owned, operated, managed, and
maintained said tractor trailer by failing to give
audible of its approach.

22. As a proximate result of one or more of these negligent acts or omissions of
Defendant, VETERAN’S, individually, and by and through its agent/employee, Defendant
HEALEY, individually, the PLAINTIFF sustained injuries of a personal and pecuniary nature.

WHEREFORE, Plaintiff, KATELYN GARLICK, demands judgment against Defendant,
VETERAN’S, individually, and by and through its agent/employee, Defendant, HEALEY,
individually, for a sum in excess of the jurisdictional limit of $50,000 of the Law Division of the

Circuit Court of Cook County, Illinois.

Respectfully submitted,

WINTERS SALZETTA O’BRIEN & RICHARDSON, LLC

os Aastha —_

Paul L. Salzetta

Winters Salzetta O’Brien & Richardson, LLC
111 West Washington Street, Suite 1200
Chicago, Illinois 60602

(312) 236-6324

(312) 236-6426 Fax

Firm No.: 60473

office(@wsorlaw.com

 
FILED DATE: 6/4/2021 11:41 AM 2021L004558

KATELYN GARLICK,

v.

WAYNE HEALEY, JR., individually,
and as agent of VETERAN’S TRUCK.
LINE, INC., a Wisconsin Corporation,
and VETERAN’S TRUCK LINE, INC.,

Case: 1:21-cv-03283 Document #: 1-1 Filed: 06/18/21 Page 9 of 10 PagelD #:13

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6/4/2021 11:47 AM
IRIS ¥Y. MARTINEZ
IN THE CIRCUIT COURT COOK COUNTY, ILLINOIS CIRCUIT CLERK
COUNTY DEPARTMENT, LAW DIVISION COOK COUNTY, IL
2021L004558

Plaintiff,

Zz
°

JURY DEMAND
Defendants.

Newel ear! Soe! Som So See? Nome! Nee! Stem? “nee! “ee? Smee” Sing”

SUPREME COURT RULE 222(b) AFFIDAVIT

The undersigned, Paul L. Salzetta, does hereby state under oath and under penalty of

perjury:

1.

2.

My name is Paul L. Salzetta.
I represent the Plaintiff in the above-captioned case.
The Plaintiff is seeking damages in excess of $50,000.00.

FURTHER AFFIANT SAYETH NOT. ay,

Paul L. Salzetth

 

Subscribed to and sworn before me this 4" day of May, 2021.

Winters Salzetia O’Brien & Richardson, L.L.C.
111 West Washington Street Suite 1200

Chicago, Illinois 60602

(312) 236-6324 / (312) 236-6426 - Fax

bee 4, Mawar —

NOTARY PUBLIC

 

q

4 PRECIOUS Y HARRISON

§ Official Seal

(Notary Public - State of Illinois

@ My Commission Expires May 28, 2023

Atty No. 60473 - — -
Email: psalzetta@wsorlaw.com

 

 
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(12/01/20) CCL 0520

 

Civil Action Cover Sheet - Case Initiation

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

KATELYN GARLICK :

WAYNE HEALEY, JR., ind.& ag agent of Veteran's Truck Line, Inc, and VETERAN'S TRUCK LINE, INC, No. =

CIVIL ACTION COVER SHEET - CASE INITIATION

A Civil Action Cover Sheet - Case Initiation shall be filed with the
complaint in all civil actions. The information contained herein
is for administrative purposes only and cannot be introduced into
evidence. Please check the box in front of the appropriate case
type which best characterizes your action. Only one (1) case type
may be checked with this cover sheet.

Jury Demand [ff Yes O1 No

PERSONAL INJORY/WRONGFUL DEATH

CASE TYPES:
i 027 Moror Vehicle
[) 040 Medical Malpractice
CO) 047 Asbestos
01048 Dram Shop
O 049 Product Liabilinr
(J 051 Construction Injuries
(including Structural Work Act, Road
Construction Injuries Act and negligence)
O 052 Railroad/FELA
(1053 Pediatric Lead Exposure
0061 Other Personal Injury/Wrongful Death
0 063 Intentional Tort
O 064 Miscellaneous Statutory Action
{Please Specify Below**)
01 065 Premises Liabilicy
0078 Fen-phen/Redux Litigation
1 199 Silicone Implant

TAX & MISCELLANEOUS REMEDIES
CASE TYPES:

01007 Confessions of Judgment

008 Replevin

1009 Tax

0015 Condemnation

017 Detinue

(029 Unemployment Compensation
[1031 Foreign Transcript

1036 Administrative Review Action

(1085 Petition to Register Foreign Judgment
099 All Other Extraordinary Remedies

By: Paul L. Salzetta —_

(Actorney) (Pro Se)

FILED

5/4/2021 11:41 AM
IRIS Y. MARTINEZ
CIRCUIT CLERK
COOK COUNTY, IL
2021L004558

 

 

 

 

(FILE STAMP)

COMMERCIAL LITIGATION
CASE TYPES:
[1002 Breach of Contract
(1.070 Professional Malpractice
(other than legal or medical)
(1071 Fraud (other than legal or medical)
(2072 Consumer Fraud
01073 Breach of Warranty
(1074 Statutory Action
(Please specify below.”*)
01075 Other Commercial Litigation
(Please specify below.*")
12076 Retaliatory Discharge

OTHER ACTIONS

CASE TYPES:
(1062 Property Damage
C3066 Legal Malpractice
077 Libel/Slander
O 079 Petition for Qualified Orders
C) 084 Petition to Issue Subpoena
(J 100 Petition for Discovery

wee

Primary Email; psalzetta@wsorlaw.com
Secondary Email: office@wsorlaw.com

‘Tertiary Email:

Pro Se Only: OI have read and agree to the terms of the Clerk's O ice Electronic Notice Policy and choose to opt in to electronic notice

form the Clerk’s Office for this case at this email address:

TRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1
